                       Case 1-19-44768-jmm                 Doc 41      Filed 11/08/21     Entered 11/08/21 08:55:19


 Information to identify the case:
 Debtor 1
                          Silverio Rivera                                               Social Security number or ITIN   xxx−xx−1384
                                                                                        EIN _ _−_ _ _ _ _ _ _
                          First Name   Middle Name   Last Name

 Debtor 2                                                                               Social Security number or ITIN _ _ _ _
                          First Name     Middle Name     Last Name
 (Spouse, if filing)                                                                    EIN _ _−_ _ _ _ _ _ _

 United States Bankruptcy Court         Eastern District of New York

 Case number:           1−19−44768−jmm



                                                                 FINAL DECREE


The estate of the above named debtor(s) has been fully administered.




IT IS ORDERED THAT:



           • Richard J. McCord (Trustee) is discharged as trustee of the estate of the above−named debtor(s).

           • The Chapter 7 case of the above−named debtor(s) is closed.


                                                                                        s/ Jil Mazer−Marino
                                                                                        United States Bankruptcy Judge

 Dated: November 8, 2021




BLfnld7 [Final Decree 7 rev 12/01/15]
